                           Case: 1:22-cv-02297 Document #: 2 Filed: 05/02/22 Page 1 of 2 PageID #:11
ILND 44 (Rev. 04/13/16)                                                CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                        DEFENDANTS
   ORIENT OVERSEAS CONTAINER LINE, LTD.,                                                                 BNSF RAILWAY COMPANY and BURLINGTON NORTHERN SANTA FE,
                                                                                                         LLC,

   (b) County of Residence of First Listed Plaintiff                                                     County of Residence of First Listed Defendant                   Forth Worth, TX Tarrant County
                                 (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                         NOTE:                      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                    THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)

       Trevor Illes - Benesch, Friedlander, Coplan & Aronoff LLP
       71 S. Wacker Dr., Ste. 1600, Chicago, IL 60606 312-212-4949


II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                 III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                     (For Diversity Cases Only)                                            and One Box for Defendant)
   1     U.S. Government              3 Federal Question                                                                      PTF          DEF                                            PTF       DEF
           Plaintiff                      (U.S. Government Not a Party)                        Citizen of This State             1               1    Incorporated or Principal Place          4      4
                                                                                                                                                        of Business In This State

   2     U.S. Government              4 Diversity                                              Citizen of Another State              2           2    Incorporated and Principal Place           5        5
           Defendant                     (Indicate Citizenship of Parties in Item III)                                                                   of Business In Another State

                                                                                               Citizen or Subject of a               3           3    Foreign Nation                             6        6
                                                                                                 Foreign Country
IV. NATURE OF SUIT                   (Place an “X” in One Box Only)
            CONTRACT                                         TORTS                                FORFEITURE/PENALTY                          BANKRUPTCY                       OTHER STATUTES
   110 Insurance                      PERSONAL INJURY                 PERSONAL INJURY             625 Drug Related Seizure                422 Appeal 28 USC 158               375 False Claims Act
   120 Marine                          310 Airplane                   365 Personal Injury -           of Property 21 USC 881              423 Withdrawal                      376 Qui Tam (31 USC
   130 Miller Act                      315 Airplane Product               Product Liability       690 Other                                   28 USC 157                          3729 (a))
   140 Negotiable Instrument                Liability                 367 Health Care/                                                                                        400 State Reapportionment
   150 Recovery of Overpayment         320 Assault, Libel &               Pharmaceutical                                                  PROPERTY RIGHTS                     410 Antitrust
       & Enforcement of Judgment            Slander                       Personal Injury                                                 820 Copyrights                      430 Banks and Banking
   151 Medicare Act                    330 Federal Employers’             Product Liability                                               830 Patent                          450 Commerce
   152 Recovery of Defaulted                Liability                 368 Asbestos Personal                                               840 Trademark                       460 Deportation
       Student Loans                   340 Marine                         Injury Product                                                                                      470 Racketeer Influenced and
       (Excludes Veterans)             345 Marine Product                 Liability                         LABOR                         SOCIAL SECURITY                         Corrupt Organizations
   153 Recovery of                          Liability                PERSONAL PROPERTY            710 Fair Labor Standards                861 HIA (1395ff)                    480 Consumer Credit
       Veteran’s Benefits              350 Motor Vehicle              370 Other Fraud                  Act                                862 Black Lung (923)                490 Cable/Sat TV
   160 Stockholders’ Suits             355 Motor Vehicle              371 Truth in Lending        720 Labor/Management                    863 DIWC/DIWW (405(g))              850 Securities/Commodities/
   190 Other Contract                      Product Liability          380 Other Personal               Relations                          864 SSID Title XVI                      Exchange
   195 Contract Product Liability      360 Other Personal                 Property Damage         740 Railway Labor Act                   865 RSI (405(g))                    890 Other Statutory Actions
   196 Franchise                           Injury                     385 Property Damage         751 Family and Medical                                                      891 Agricultural Acts
                                       362 Personal Injury -              Product Liability            Leave Act                                                              893 Environmental Matters
                                           Medical Malpractice                                    790 Other Labor Litigation                                                  895 Freedom of Information
       REAL PROPERTY                     CIVIL RIGHTS               PRISONER PETITIONS            791 Employee Retirement                 FEDERAL TAX SUITS                       Act
   210 Land Condemnation               440 Other Civil Rights         510 Motions to Vacate           Income Security Act                 870 Taxes (U.S. Plaintiff           896 Arbitration
   220 Foreclosure                     441 Voting                         Sentence                                                             or Defendant)                  899 Administrative Procedure
   230 Rent Lease & Ejectment          442 Employment                 Habeas Corpus:                                                      871 IRS—Third Party                     Act/Review or Appeal of
   240 Torts to Land                   443 Housing/                   530 General                                                              26 USC 7609                        Agency Decision
   245 Tort Product Liability              Accommodations             535 Death Penalty                                                                                       950 Constitutionality of
   290 All Other Real Property         445 Amer. w/Disabilities       540 Mandamus & Other             IMMIGRATION                                                                State Statutes
                                           Employment                 550 Civil Rights            462 Naturalization Application
                                       446 Amer. w/Disabilities       555 Prison Condition        463 Habeas Corpus -
                                           Other                      560 Civil Detainee -            Alien Detainee
                                       448 Education                      Conditions of               (Prisoner Petition)
                                                                          Confinement             465 Other Immigration
                                                                                                      Actions

V. ORIGIN (Place an “X” in One Box Only)
                                                                                                                              Transferred from
       1 Original          2 Removed from               3 Remanded from                    4   Reinstated or              5                                6 Multidistrict
                                                                                                                              Another District
         Proceeding          State Court                  Appellate Court                      Reopened                       (specify)                      Litigation
VI. CAUSE OF ACTION (Enter U.S. Civil Statute under which you are            VII. Previous Bankruptcy Matters (For nature of suit 422 and 423, enter the case
filing and write a brief statement of cause.)                                number and judge for any associated bankruptcy matter previously adjudicated by a judge of
 28 U.S.C. § 1332 Breach of contract , 49 U.S.C. § 11706, 49 U.S.C. § 14706, this Court. Use a separate attachment if necessary.)
 Staggers Rail Act, Negligence, Bailment, Contribution & Indemnity
VIII. REQUESTED IN                             CHECK IF THIS IS A CLASS ACTION           DEMAND $                         CHECK YES only if demanded in complaint:
        COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.
                                                                                         in excess of $75,000           JURY DEMAND:                    Yes ■         No
IX. RELATED CASE(S)                          (See instructions):

     IF ANY                                                            JUDGE                                                    DOCKET NUMBER

X. This case (check one box)          Is not a refiling of a previously dismissed action              is a refiling of case number                   previously dismissed by Judge
DATE 05/02/2022                                                        SIGNATURE OF ATTORNEY OF RECORD /s/ Trevor Illes
                           Case: 1:22-cv-02297 Document #: 2 Filed: 05/02/22 Page 2 of 2 PageID #:12
                                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                       Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required by law,
except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed. The attorney
filing a case should complete the form as follows:

I.        (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only the
full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving both
name and title.

            (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time of
filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases, the
county of residence of the "defendant" is the location of the tract of land involved.)

           (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting in this
section "(see attachment)".

II.         Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X" in one of
the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.

United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the Constitution,
an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and box 1 or 2 should be
marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity cases.)

III.       Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this section
for each principal party.

IV.         Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of suit, select the
most definitive.

V.           Origin. Place an "X" in one of the six boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition for
removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict litigation
transfers.

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box is
checked, do not check (5) above.

VI.       Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes
unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.      Previous Bankruptcy Matters For nature of suit 422 and 423 enter the case number and judge for any associated bankruptcy matter previously adjudicated
by a judge of this court. Use a separate attachment if necessary.

VIII.      Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P. Demand. In this space enter the
actual dollar amount being demanded or indicate other demand, such as a preliminary injunction Jury Demand. Check the appropriate box to indicate whether or not a
jury is being demanded.

 IX.      Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket numbers and the
corresponding judge names for such cases.

X.        Refiling Information. Place an "X" in one of the two boxes indicating if the case is or is not a refilling of a previously dismissed action. If it is a refiling of a
previously dismissed action, insert the case number and judge.

             Date and Attorney Signature. Date and sign the civil cover sheet.
Rev. 1 - 04/13/2016
